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                    Exhibit A
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                         SETTLEMENT AGREEMENT AND MUTUAL RELEASE

        This Settlement Agreernent and Mutual Release (the "Agreement") is made and entered
into by and among Samba Vegas, LLC ("Samba Vegts"); PWI Construction, Inc. ("PWI"); and
Jeofhey L. Burtch, Chapter 7 trustee for Trevi Architectural, lnc. ("Trevi") (collectively, the
"Parties") this 23rd day of Dcccmber, 2009.

T.       RECITALS

          l.0l         The Trevi [:wsuit. On or about November 26, 2008, Trevi filed suit against
                       Samba Vegas and PWI in the Eighth Judicial District Court, Clark County,
                       Nevada, Case No. A576637,captioned Jeoffrey L. Burtch, Chapter 7 trustee for
                       Trevi Architecrural, Inc. vs. Samba Vegas, LLC et al. (the "Trevi Lawsuit"). This
                       Agreement arises out of and pcrtains exclusively to the Trevi Lawsuit.

          1,02         Senlement. Notwithstanding the Parties'vigorous denials of any liability or
                       wrongdoing, the Parties are desirous of resolving, terminating, and fully and
                       completely settling all claims that have been or could have been asserted in the
                       Trevi lawsuit, without the expense and delay of further litigarion.

          1.03         IntenCed Effect. This Agreement, among other things, provides for the mutual
                       settlement and release of all claims, causes of actions and damages pertaining to
                       the Trevi Lawsuit, and, except as otherwise provided hercin, any and all other
                       claims, causes of action and damages that were or could have been raised in the
                       Trevilawsuit.

IL       AGREEMENT

       NOW, THEREFORE, in consideration of the mutual promises and agreements herein
and other good and valuable consideration, the receipt and sufliciency of which the Panies
acknowledge, the Parties agree as follows:

         2.01          Mutual Release of Claims bv the Parties. Samba Vegas, PWI, and Trevi fully
                       release and forever discharge one another and their respective employees,
                       affi liated entities, agents, repr€sentatives, successors, attorneys, insurers, and
                       assigns, if any, of and frorn;

         2.0 | .   I   any and all claims, known or unknown, asserted or un-asserted, of whatever
                       nature, now existing or hereafter arising, relating in any way to the Trevi l:wsuit,
                       its subject matter, or any matters that were or that could have been asserted
                       therein: and

         2.01.2 any and all damages alleged to be sustained or actually sustained by reason of any
                of the conduct alleged in the Trevi Lawsuit or the continued effects thereof.


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        2,02       Matters Not Released.

       2.02.I The foregoing mutual        releases of claims shall not include any liability or
                   obligation created by this Agreement or any claims arising oul of or relating to
                   any traDsactions betwecn or among the Parties that are unrelated to the Trevi
                   Lawsuit and that occur or arise after the effective date of this Agreement, whether
                   currently known or unknown.

       2.03        Settlement Consideration and Aseement Contineent Upon the Approval of
                   Bank$otcv Courr. The muual releases slated above in paragraphs 2.01 and it
                   subparts are made and given for and in consideration of PWI and Samba Vegas
                   payrng Trevi, a total setllement payment of Forty Thousand Dollan and Zero
                   Cents ($40,000.00) (the "Senlement Payment") in the manner provided in Section
                   2.M.

         The Agreement shall not be effective for any purpose unless and until the United Srares
Bankruptcy court for the District of Delaware (the "Bankruptcy Courr") approves this
Agreement by an order (the "Approval OrdeC'). After complete execulion of this Agreemenr by
all Parties, the Trustee shall undertake to file an appropriate molion in Case No. 08-12029
(css), captioned In re: sierra concrete Design, Inc.; Trevi Arehitectural, Inc (ointly
administered) to obtain the Approval Order.

       2.04        The Settlemenr Pavment willbe made as follows:

       2.04.   I   Within seven business days of the mutual execution of this Agreement, PWI         will
                   pay Trevi $10,000 and Samba Vegas will pay Trevi $5,000.

       2.04.2 Afier the initial payment contemplated in Section 2.03.l, Samba Vegas will make
              | | monthly payments commencing January, 2010, specificalry t0 paymens of
              52,212,73 and final paymenr $2,272.70.

       2'04.3 Until such time as the Bankruptcy Court approves this Agreement, no paymenr is
              due. lf any of the payments contemplated in 2.04. I or 2.04.2 becomes due before
              the Bankruptcy Court approves this Agreement, Samba Vegas will deposir said
              monthly paymenl(s) in the trust account of Kane Kessler, P.C., 1350 Avenue of
              the Americas, Ncw York, New York 10019, and in the case of PWI in the trusr
              account of Glenn Meiet Esq., to be released to Trevi at Samba Vegas's and
              PWI's direction following Trevi's providing a lrue and correcr copy of the
              Approval Order to counsel for Samba Vegas and pWl.




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          2.04.4 In the event that Trcvi contends a default in payment plan has occurred, Trevi's
                 counsel shall provide PWI's and/or Samba Vegas's counsel (as the case may be)
                 with wrilten nolice of the default. The defaulting party shall have seven business
                 days to cure fte default. ln the event of an uncured breach, Trevi's bankruptcy
                    trustee rnay elect to enforce this Agreement or may set aside this Agreement and
                    seek the entire amount that Trevi claimed in the Trevi Lawsuit.

                    In the event of a breach which is not timely cured, Trevi's bankruptcy trustee may
                    elect to enforce this Agreement in which case interest shall accrue at the legal
                    rate.

                    Alternatively, in the event of a breach which is not timely cured, Trevi's
                    bankruptcy trustee may, in his solc discrerion, (i) consider this Sertlemenr
                    Agreement null and void by providing prompt written nolice to each Defendanr.
                    (ii) retain any portion of the Settlement Amount already collected and (iii)
                    continue to pursue the diflercnce between the total amount Claimed in the Trevi
                    Lawsuit and the amount already collected from the Defendants.

                    In the event of a motion or any suit or action based on breach of this Settlemcnt
                    Agreement, including, but not limited to, failure to pay the Settlemenl Amount
                    within ten business days after the Settlement Date, the Plaintiffshall be enritled ro
                    recover reasonable costs, including, but not lirnited lo, attorney fees, in addition
                    to such other remedies as may be allowed by law.

          2.05      Release of Mechanics' Lien. within seven business days of rhe Bankruptcy
                    Courl's approving this Agreement, Trevi will release any and all rnechanics' liens
                    it has recorded against the real property (including any leasehold or other inreresr
                    therein) at issue in the Trevi Lawsuit. Trevi shall provide a release in the form
                    prescribed in NRS 108.2437 ro Samba Vegas's and PWI's counsel but Samba
                    Vegas and PWI shall be responsible to record the lien release. ln the event rhar
                    Trcvi fails to provide the mechanic's lien releas€, samba vegas shall nor be
                    obligated to make any payments under this Agreement unless and until Trevi
                    provides the lien release.

          2.06      Dismissal. The Parties shall cooperate to slay the Trcvi Lawsuir unril such rime
                    as the paymens contemplated in Section 2.03 are completed. As soon as
                    practicsble after rcminance of thc frnal Scnlement Paymcnt, the Parties agree to
                    dismiss lhe Trcvi Lawsuit with prejudice by signing and filing a sripulation and
                    order for dismissal with prejudice, reciting that each Party will bear its own
                    attorne/s fees and costs.




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            2.07       Sarutorv Release. As soon  as practicable after remittance of the Settlement
                       Payment, Trevishall provide to Samba Vcgas and PWI an unconditional waiver
                       and rclease upon final payment in the form prescribed by NRS 108,2467 with thc
                       "amount of disputed claims" section listed as "$0."

            2.08       Attomevs'Fees. Each Party shall bear its own attorneys' fees and costs incurred
                       to date,

            2.09       Acknowledsments, The Parties mutually understand and expressly agree and
                       warTant:

            2.09.1 that this Agreement is executed without rcliance upon any statement or
                       representation by any Party or its reprcsentatives conceming the nature or extent
                       of the claimed damages or legal liability therefore.

            2.09.2 that this Agreement and the provisions set forth herein have bEen carefutly read in
                   their entirety by each of the Parties, who has had the benefit and advice of counsel
                   of its choosing, and that this Agreement and the releases set forth herein are
                   known by the Parties to be in full and final and complete compromise, settlement,
                   releas€, accord and satisfaction, and discharge of all claims and actions as above
                      stated; and

           2.09.3 that no Party has assigned to any other person or party atl or any portion of any
                  claim whatsoever that they may now or in the future have against any party
                  arising out of the facts involved in the Trevi Lawsuit; and

           2.09.4 that each Party has participated in the preparation of this Agreement and thar in
                  construing or interpreting this Agreemen[ no provision of the Agreement shatl be
                  construed or interpreted against the drafting party, or any other party to lhe
                      Agreement.

           2-10       Inteeration. This Agreement represents the fulland complete integration of the
                      agreement between the Parties and is the complete expression thereof. All other
                      agreements, negotiations, and reprcsentations between the Parties pertaining ro
                      the subject maner of this Agreemant, and to the extent not expressiy set fonh
                      hcrein, are void and of no force or effect whatsoever. This Agreement may not be
                      amended or modified except in wriring and signed by each ofthe partics.

           2-ll       Gover.ning l-aw. This Agreemenr shall be governed by and construed in
                      accordance with the laws of the State of Nevada.

           2.12       Couglcro+qts. This Agreement may be executcd in any number of counterpans
                      confirmed by facsimile or electronic copies of signatures, each of which shall be
                      deemed a duplicate original.


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                    thc bensfit of ttre Fatdcs -Thiq
                                               h€rao rito in rcspcctive heirs, porsonal pprcecnhtives,
                    suacosgors, or assigns, as ttre care
                                                         may be.

    IN WITNESS WHEREOF T}IE PARTIES SET
                                        T}IEIR H.ANDS AS FOLIOWS:
   SAMBA I{EGAS, LLC

   BY GAUCHO, LLC             AS
   sAIrrBA VEGAS, LLC




                           Mroaging Mcnbsr



  TREVI ARCHTTECTURAL, lNC.
                                                              FWI CONSTRUCUON,INC.



  "tr***
  Architcctural, Inc.                                         By   lv{arc D




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                      2.13        $uccessg-fs and Assigns. This Agreement shall be binding upon and shall inure to
                                  the benefit ofthe Parties hereto and its respective heirs. personal representatives.
                                  successors, or assigns, as the case may be.

             IN WITNESS WHEREOF THI: PARTIES SE.I.THEIR HANDS AS FoI,LOWS:

             SAMBA VEGAS, L-LC               -                        -*                      i
                                                                                      I



            BY GAUCHO, LLC AS MANAGER                            FOR              ]
                                                                                              :




            SAMBA VEGAS, LLC                                                      illl
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            By: Danielle Billera. Managing Member
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            TREVI ARCHITECTURAL, INC.                                                             PWI CONSTRUCTION, TNC.
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|-   lcr-   By; Jeof'frey L. Burtch, Chapter 7 trustee for I revl                                 By: Marc D. Ferguson, Execulive Vice presidenl
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